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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
      SECURITIES AND EXCHANGE                           CASE NO. 3:22-cv-5150-JHC
 8
      COMMISSION,
                      Plaintiff,                        ORDER
 9
             v.
10
      S-RAY INCORPORATED and STEPHEN
11
      ALEXANDER BAIRD,
12
                             Defendants.
13

14          THIS MATTER comes before the Court on the letter request of Defendant Stephen

15   Alexander Baird filed on July 29, 2022 (Dkt. # 22), which the Court construes as a motion. It is

16   not apparent to the Court what relief the motion seeks. To the extent the motion requests that the

17   Court set aside the order of default (Dkt. # 20), the Court DENIES it without prejudice, as it

18   lacks argument under Federal Rule of Civil Procedure 55(c). To the extent the motion seeks a

19   stay of proceedings, the Court DENIES it, as it lacks any legal basis for such relief. To the

20   extent the motion seeks additional time to file a motion to set aside the default under Rule 55(c),

21   the Court GRANTS Defendant leave to do so until Friday, September 16, 2022.

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     ORDER - 1
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 1         Dated this 15th day of August, 2022.

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 4                                                John H. Chun
                                                  United States District Judge
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